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             EXHIBIT 24
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    Traveling from outside
    Illinois?
    We have abortion navigators
    (https://www.plannedparenthood.org/planned-
    parenthood-illinois/patient-
                                                                                                    LEARN MORE
    resources/whether-youre-in-illinois-or-
    from-another-state) who can assist with
    travel arrangements and other resources
    to help you access the care you need.
    Call 877-200-7745 (tel:877-200-7745) to
    learn more.




    Abortion Care
    If you’re pregnant and considering an abortion, we’re here to provide
    straight forward and medically-accurate information so you can make the
    decision that’s best for you. No judgment, no pressure. Just support.
    Planned Parenthood of Illinois healthcare professionals will:

         Discuss all options concerning pregnancy
         Answer any questions you may have
         Explain abortion procedures and discuss possible risks

         Discuss birth control methods
         Offer behavioral health services

                                                                                                    NIFLA 02009
https://www.plannedparenthood.org/planned-parenthood-illinois/patient-resources/abortion-services                 1/5
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                                                      BOOK AN APPOINTMENT



                                                            LEER EN ESPAÑOL




    Need help covering the
    costs of your abortion?
    We have financial assistance available for                                                      LEARN MORE
    those who qualify, and we work with a
    network of organizations that can help
    with travel expenses.




    Abortion Options
    Planned Parenthood offers the full
    range of abortion care options: in-
    clinic abortion
    (https://www.plannedparenthood.org/planned-
    parenthood-illinois/patient-
    resources/abortion-services/clinic-
    abortion) and medication abortion
    (https://www.plannedparenthood.org/planned-
    parenthood-illinois/patient-
    resources/abortion-
    services/abortion-pill).
    (https://www.plannedparenthood.org/planned-
    parenthood-illinois/patient-


                                                                                                    NIFLA 02010
https://www.plannedparenthood.org/planned-parenthood-illinois/patient-resources/abortion-services                 2/5
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    resources/abortion-
    services/abortion-pill) Both are
    safe, effective, and legal in Illinois.

    PPIL also offers medication
    abortion pill by mail
    (https://www.plannedparenthood.org/planned-
    parenthood-illinois/patient-
    resources/abortion-
    services/abortion-pill-mail)to
    qualifying patients after a
    telehealth visit.

    If you decide abortion is the right
    choice for you, you can schedule
    an appointment for your abortion
    or a consultation to discuss your
    options with our healthcare
    professionals.




                                                        KNOW YOUR OPTIONS




        Medication                                        In-Clinic                                 Abortion pill-
        Abortion                                          Abortion                                  by-mail
        Medication                                        In-clinic abortions                       Planned Parenthood
        abortion, or the                                  are sometimes                             of Illinois is proud to
        abortion pill is a safe                           called surgical                           now offer the
        and effective way of                              abortions, though                         abortion pill-by-
        ending an early                                   they're generally an                      mail, which means
        pregnancy. You can                                in-office procedure,                      you can now access
                                                                                                          NIFLA 02011
https://www.plannedparenthood.org/planned-parenthood-illinois/patient-resources/abortion-services                             3/5
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        usually have your                                 not surgery. In-clinic                    the care you need,
        abortion in the                                   abortions are quick                       when and where
        privacy of your own                               and extremely                             you need it.
        home.                                             effective.
                                                                                                    To qualify for the
        PPIL provides                                     PPIL offers in-clinic                     abortion pill-by-
        medication abortion                               abortions up to 21                        mail, patients must
        (abortion pill) at all                            weeks and 6 days                          be 10 weeks
        17 of its health                                  gestation.                                pregnant or less.
        centers across the                                                                          Patients must also
        state up to 10                                                                              have an Illinois
        weeks and 6 days                                                                            address and be
        gestation.                                                                                  physically in Illinois
                                                                                                    at the time of their
                                                                                                    telehealth
                                                                                                    appointment.



              LEARN MORE                                        LEARN MORE                              LEARN MORE




    Make an appointment
    Planned Parenthood of Illinois offers in-
                                                                                                      FIND A HEALTH
    clinic abortion and the abortion pill all                                                            CENTER

    across Illinois. Find a health center
    location near you!




    Assistance is Available
    Financial assistance is available to help
                                                                                                           CALL TODAY
    cover the cost of your abortion. To find
    out more, please give us a call at
    877.200.PPIL.
                                                                                                          NIFLA 02012
https://www.plannedparenthood.org/planned-parenthood-illinois/patient-resources/abortion-services                            4/5
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    Confidentiality
    Parental consent for abortion is not required in the state of Illinois. No one
    will be given information about your visit without your written permission
    or unless required to by law.




                                                                                                    NIFLA 02013
https://www.plannedparenthood.org/planned-parenthood-illinois/patient-resources/abortion-services                 5/5
